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June 6, 2024
                                                      FI LED
                                                  IN CLERK'S OFFICE
                                            U.S. DISTRICT COURT E.D.N.Y.

                                            * JUN 11 2024 *
ViaECF
The Honorable Joanna Seybert                LONG ISLAND OFFICE
United States District Judge
Eastern District of New York
610 Federal Plaza
Central Islip, New York 11722


               Re:    US v. George Devolder Santos (23-cr-197) (S-2) (JS)
                      Request to Modify Conditions of Release

Dear Judge Seybert:

        We represent George Devolder Santos, the Defendant in the above-referenced matter.
We write to request a modification of Mr. Santos' conditions of release to add a "Mt. Pocono and
surrounding area" as a regular access area to the governing Order Setting Conditions of Release
and Appearance Bond (ECF 12) ("Order"). Mr. Santos' U.S. Pretrial Services Officer Amanda
Sanchez has no objection to this request. Additionally, the Government has no objection to this
request.

        Currently per the Order, Mr. Santos is restricted to travel within "New York City", "Long
Island", "District of Columbia", and "Other travel in continental United States w/ advanced
notice Gov/Pretrial." See ECF 12. Over the summer months, Mr. Santos intends to make
regular visits to Tobyhanna, Pennsylvania, which is located approximately 7 miles north of Mt.
Pocono. Mr. Santos is currently permitted to travel to this location upon prior notice to Ms.
Sanchez. However, he expects to travel weekly to the Mt. Pocono area and therefore seeks to
add this location to the Order to avoid submitting weekly travel requests to Ms. Sanchez.

        Mr. Santos has complied with all bail conditions to date, including regular check-ins and
any travel restrictions currently imposed by the Court. Mr. Santos has already advised Ms.
Sanchez of the specific address that he will be frequenting in the Mt. Pocono area and will
continue to comply with all existing requirements and conditions contained in the Order




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       We are available to provide any additional information the Court may require and are
prepared to discuss this request further at the Court's convenience. We thank the Court for its
time and attention to this matter.

                                             Respectfully submitted,




                                             Robert Fantone



cc:    All counsel of record via ECF                            SO ORDERED:
       Amanda Sanchez                                           s/   Joanna Seybert
                                                                               (?                 I



       U.S. Pretrial Services
       amanda_ sanchez@nyept.uscourts.gov




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